70 F.3d 1260
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Denrick Eric BROWN, Petitioner-Appellant,v.VIRGINIA DEPARTMENT OF CORRECTIONS;  Edward Murray,Director;  Lou Ann White;  David A. Williams,Respondents-Appellees.
    No. 95-6802.
    United States Court of Appeals, Fourth Circuit.
    Submitted November 16, 1995.Decided:  November 30, 1995.
    
      Denrick Eric Brown, Appellant Pro Se.  Pamela Anne Sargent, Assistant Attorney General, Richmond, VA, for Appellees.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Brown v. Virginia Dep't of Corrections, No. CA-93-346-AM (E.D.Va. Apr. 28, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    